Meghan Claiborne

From:                              Meghan Claiborne
Sent:                              Friday, February 5, 2021 6:40 PM
To:                                'Thomas Malone'
Subject:                           Wexler v. City, et al. - Supplemental Discovery Responses
Attachments:                       Wexler - Answer and Objections to Plaintiff's Supp RFP.pdf


Good Evening:

Attached are Defendants’ responses to Plaintiff’s supplemental discovery requests. As we discussed, I have submitted
requests for any video from Officer O’Reilly’s BWC and requested photographs of all supervisors working the Pride Day
Parade based upon the Pride Day Orders. Any video will produced immediately. Upon receipt of the photographs, I will
ask that both Ms. Wexler and Officer Hawkins review to see if they can identify the supervisor. I will make any
individuals identified available upon request. I have also requested that a second check be done for any video recorded
by civil affairs near the area of the incident and radio records, but as discussed I don’t believe such recordings would still
exist at this time. You indicated that you may have requested this discovery in the criminal proceedings and that you
may submit a subpoena to the DA. I would ask that you provide a copy of any subpoena served and copies of anything
you receive.

Concerning Ms. Wexler’s discovery responses – First, the only other PPD officer identified by Ms. Wexler in her discovery
responses was Officer Reilly. If Ms. Wexler can provide information on any other individuals she had specific contact
with, including any officers with whom she spoke or who transported her, I will see if they can be identified. Second, can
you please also produce the medical records Ms. Wexler identified in her responses? She indicates she was treated for
both physical and psychological injuries, but then indicates in response to request for production Nos. 4 and 5 that there
are no such medical records.

As for depositions, here is the availability for Officer Hawkins, Cpl. Keenan, Det. Koenig and P/O Reilly:

•       P/O Hawkins – 9th or 10th
•       Cpl. Keenan – 2/10, 2/11, 2/18
•       Det. Koenig – 10, 11, 17, 18 (10AM would be best)
•       P/O O’Reilly – 13-18

Please provide your client’s availability for a video deposition prior to March 18. To the extent she is not available before
then due to the issues we discussed, I am happy to enter into a consent order giving you another month to produce her.
I would also not object to an extension of the discovery deadline, but I would still ask for the consent order if the Court
has not ruled on any motion for another extension by COB March 15.

Happy to discuss if you have any questions.

Thank you,
Meghan

Meghan E. Claiborne
Civil Rights Unit
City of Philadelphia Law Department
Office: 215-683-5447
Cell: 706-951-0586
Fax: 215-683-5397

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